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                   Exhibit 07A
           Case 2:10-md-02179-CJB-DPC Document 8963-12 Filed 03/20/13 Page 2 of 2


Douglas, Charles W
Attachments:              BP's Response to Class Counsel's December 16 Request for Policy Determin....ZIP


From: Holstein, Mark E
Sent: Tuesday, January 08, 2013 8:16 PM
To: Patrick Juneau; Michael Juneau
Cc: Christine Reitano; Jim Roy; 'Steve Herman'; lgreer@browngreer.com; Orran Brown; Godfrey, Richard C.; Lennard,
Jeffrey; Moskowitz, Keith; Cantor, Daniel A.
Subject: Reply to submission of Class Counsel 12/16/12

Pat, Mike and Friends,

Please see attached. As always, we would be pleased to discuss. Thanks.

<<BP’s Response to Class Counsel’s December 16 Request for Policy Determin....ZIP>>

Mark Holstein
BP Legal
501 Westlake Park Blvd.
Houston, Texas 77079
Phone: 281-366-8895
Mobile: 630-362-8167




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